                Case 3:20-cv-05581-MJP Document 43 Filed 12/02/21 Page 1 of 3




 1   Ray W. Kahler, WSBA #26171                                        The Honorable Marsha J. Pechman
     Stritmatter Kessler Koehler Moore
 2   413 8th Street
     Hoquiam, WA 98550
     360-533-2710
 3
     Benjamin R. Winkelman, WSBA #33539
 4   Parker, Winkelman & Parker
     813 Levee Street
 5   Hoquiam, WA 98550
     360-532-5780
 6

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10
                              UNITED STATES DISTRICT COURT
11                      WESTERN DISTRICT OF WASHINGTON AT TACOMA

12   JOHNANAS JOHNSON and JENNIFER
     JOHNSON, husband and wife,                           No. 3:20-cv-05581-MJP
13
                                    Plaintiffs,              ORDER ON MOTIONS IN LIMINE
14
         v.                                                 HEARING DATE: November 26, 2021
15
     UNITED STATES OF AMERICA,
16
                                    Defendant.
17

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19            This matter came before the Court on Defendant’s motion in limine, (Dkt. No. 25), and

20   Plaintiffs’ motions in limine, (Dkt. No. 27). Having considered Defendant’s motion and

21   supporting declaration, (Dkt. Nos. 25, 26), the response, (Dkt. Nos. 31–33), and the Parties’

22   positions at the pretrial conference on November 30, 2021, it is ORDERED that Defendant’s

23   motion in limine is DENIED. Having considered Plaintiffs’ motions in limine and supporting

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     ORDER ON MOTIONS IN LIMINE - 1
                                                                                              413 - 8th Street
                                                                                              Hoquiam, WA 98550
                                                  STRITMATTER KESSLER KOEHLER MOORE           Tel: 360-533-2710
               Case 3:20-cv-05581-MJP Document 43 Filed 12/02/21 Page 2 of 3




 1   declaration, (Dkt. Nos. 27, 28), the response, (Dkt. Nos. 35, 36), and the Parties’ positions at the

 2   pretrial conference, it is ORDERED that Plaintiffs’ motions are GRANTED IN PART and

 3   DENIED IN PART, as indicated below.

 4          Defendant, Defendant’s counsel, representatives, and witnesses, shall make no mention

 5   of, refer to, or seek to introduce into evidence, the following where the Court has granted

 6   Plaintiffs’ motions:

 7          Legend:

 8          G = GRANTED

 9          D = DENIED

10          R = RESERVED

11       ORDER                                  MOTIONS IN LIMINE
12   G                      1.   Collateral Source Benefits

13   G                      2.   Incident that resulted in Mr. Johnson having his jaw wired
                                   shut in 2008
14   D                      3.   Unrelated prior medical conditions

     G                      4.   Fact that the Johnsons filed for bankruptcy in 2005
15
     G                      5.   Prior criminal charges – John Johnson
16

17          DATED this 2nd day of December, 2021.

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19
                                                           A
                                                           Marsha J. Pechman
20                                                         United States Senior District Judge

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     ORDER ON MOTIONS IN LIMINE - 2
                                                                                                 413 - 8th Street
                                                                                                 Hoquiam, WA 98550
                                                   STRITMATTER KESSLER KOEHLER MOORE             Tel: 360-533-2710
             Case 3:20-cv-05581-MJP Document 43 Filed 12/02/21 Page 3 of 3




 1   Presented by:
 2
     STRITMATTER KESSLER KOEHLER MOORE
 3

 4

 5   Ray W. Kahler, WSBA #26171
     Co-Counsel for Plaintiffs
 6

 7
     PARKER, WINKELMAN & PARKER
 8

 9   Benjamin R. Winkelman, WSBA #33539
     Co-Counsel for Plaintiffs
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     ORDER ON MOTIONS IN LIMINE - 3
                                                                              413 - 8th Street
                                                                              Hoquiam, WA 98550
                                          STRITMATTER KESSLER KOEHLER MOORE   Tel: 360-533-2710
